                                                                                            FILED
          Case 8:23-cr-00381-TDC Document 13 Filed 11/08/23 Page 1 of U.S.
                                                                      1 DISTRICT COURT
                                                                                            DISTRICT OF MARYLAND
                                                                                             11/8/2023
                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND                                      CLERK’S OFFICE
                                                                                            GREENBELT
 UNITED STATES OF AMERICA                         *                                         BY H.E. DEPUTY CLERK
                                                  *
        v.                                        *  CRIMINAL NO. TDC-23-381
                                                  *
 SAMUEL SWEELEY,                                  *
                                                  *
                Defendant                         *
                                                  *
                                                  *
                                                ****

                            MOTION TO UNSEAL INDICTMENT

       The United States of America, by its attorneys, Erek L. Barron, United States Attorney for

the District of Maryland, and Shabnam Aryana, Assistant United States Attorney for said District,

moves this Honorable Court for an order to unseal the Indictment in Criminal No. TDC-23-381.

The Defendant has made an initial appearance and been notified of the charges in this case, thereby

obviating the need to maintain the case under seal any longer.

       WHEREFORE, the Government requests that the Court issue an Order to unseal the

Indictment and all other documents filed in this action until further order of the Court.



                                                 Respectfully submitted,

                                                 Erek L. Barron
                                                 United States Attorney


                                           By: __________________________
                                               Shabnam Aryana
                                               Assistant United States Attorney


It is so ORDERED this ___8__ day of November 2023.


                                                 ______________________________
                                                 The Honorable Ajmel A. Quereshi
                                                 United States Magistrate Judge
